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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS


DANA-FARBER CANCER INSTITUTE, INC.,

                                Plaintiff,

               v.
                                                       Civil Action No. 1:15-cv-13443-PBS
ONO PHARMACEUTICAL CO., LTD.,
TASUKU HONJO, E.R. SQUIBB & SONS,
L.L.C., and BRISTOL-MYERS SQUIBB, CO.

                              Defendants.



                          NOTICE REGARDING PLAINTIFF’S
                      USE OF PREVIOUSLY PRODUCED MATERIAL

         Defendants Bristol-Myers Squibb Co. and E.R. Squibb & Sons, L.L.C. (collectively,

“BMS”) hereby notify this Court that, pursuant to paragraphs 6 and 7 of the Stipulated Protective

Order, Dkt. No. 134 (May 12, 2017), they have consented to Plaintiff Dana-Farber Cancer

Institute Inc.’s limited use of two documents produced under the Protective Order. Specifically,

BMS has consented to Plaintiff referring to certain license agreements produced under the

Stipulated Protective Order in Plaintiff’s opposition to the pending motion to dismiss in Dana-

Farber Cancer Institute v. Bristol-Myers Squibb, Co., No. 19-cv-11380 (D. Mass.). Plaintiff has

agreed to treat those documents as “Outside Counsel Eyes Only” pursuant to the Stipulated

Protective Order. The documents are not deemed produced for purposes of Case No. 19-cv-

11380.




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Dated: November 12, 2019             Respectfully submitted,

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                              Counsel for E.R. Squibb & Sons, L.L.C. and
                              Bristol-Myers Squibb Co.




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